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                     EXHIBIT A
                       Case 23-11069-CTG         Doc 1280-1     Filed 12/06/23          Page 2 of 16
Application for Resolution of a Claim – Injury                               Filed:
February 2020 Edition
                                                                             via LMS - 4/5/2023


KENTUCKY DEPARTMENT OF WORKERS’ CLAIMS
Application for Resolution of a Claim - Injury
Claim No.


Steven Hensley                                                    USF Holland
                                                        vs.
                        Plaintiff                                              Defendant/Employer (Business Name)

*******6227                                                       219 Transport Court
        Social Security Number/ Green Card                                     Defendant/ Employer Mailing Address

12/4/1971                           M                             LEXINGTON KY 40511
       Birth Date                       Gender                                         City/State/Postal Code
370 Persimmon Way                                                 Sedgwick
              Plaintiff Mailing Address                                                     Insurance Carrier
HARRODSBURG KY 40330                                              PO Box 14434
                 City/State/Postal Code                                          Insurance Carrier Mailing Address

         ☐ Outside United States                                  LEXINGTON, KY 40512
UNITED STATES                                                                          City/State/Postal Code
                        Country
(859) 659-4287
              Plaintiff’s Phone Number


                    Email Address
Truck driver ns
                      Occupation

                                                 Additional Parties


                    Additional Party                                                        Additional Party


                    Mailing Address                                                         Mailing Address


                 City/State/Postal Code                                                City/State/Postal Code

Reason for Joinder:                                                   Reason for Joinder:
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                                                         I. Nature of Injury
1.   Date and location of accident/injury:
     4/6/2020                                LEXINGTON, KY 40511
      Date of Injury                          Location of Injury (City/State/Postal Code)

               Plaintiff states that he/she was injured within the scope and course of employment with defendant employer on the
          X
          ☐ above date at the above location.

2.   Describe how the accident/injury occurred:
     Plaintiff was injured when as he was helping to unload a truck with a pallet jack when one of the pins broke and he was pinned
     against the wall of the truck injuring his right shoulder, arm, and hand



     Cause of Injury: CAUGHT IN, UNDER OR BETWEEN MACHINE OR MACHINERY
3.   Body part injured: MULTIPLE UPPER EXTREMITIES

4.   When and by what means did the plaintiff give notice of injury to the employer?
     verbally



5.   Describe medical treatment, if any:
     Urgent care, physical therapy, orthopedic consult with follow ups, arthroscopic repair of the supraspinatus and infraspinatus
     tears with subacromial decompression of the superior labrum, and radiology testing.


6.   Name and address (city/state/postal code) of physician whose report will be provided:
     Dr. Mark Barrett, 811 S 2nd Street, Suite 100, Louisville, KY 40203


7.   Will an interpreter be needed for the formal hearing? (Yes / No)     No
     If yes, in which language?
8.   Dependents

     Injured worker is deceased? (Yes / No)     No

     If deceased, dependent information is required for a deceased worker. If work injury resulted in the death of claimant,
     attach/provide/upload Form F in addition to the application for Resolution of Claim.


9.   Have you previously filed for or received workers’ compensation benefits in Kentucky? (Yes / No)       No
     If yes, please provide the following information:

             Claim Number                     Date of Injury             Nature of Injury/Disease            Awards/Benefits




     If not a Kentucky claim, please provide the state in which you were awarded benefits:
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10.   Was there concurrent employment at the time of injury? (Yes / No)       No

11.   Name and address of concurrent employer:

             Concurrent Employer Name
             Concurrent Employer City
             Concurrent Employer State                                                      Postal Code

12.                                                         No
      Has the plaintiff worked since the injury? (Yes / No) _____________

13.   Name and address of current employer and description of job currently being performed:
             Current Employer Name
             Current Employer City
             Current Employer State                                                         Postal Code
             Description of Job Performed:




14.   Highest grade completed in school?
15.   G.E.D. Awarded?        ☐ Yes            X No
                                              ☐
16.   Professional or Vocational Degrees, Certificates, or Licenses:




17.   Are you alleging a violation of a safety rule/regulation pursuant to KRS 342.165? (Yes / No)      No
      If yes, submit form SVC with the Application for Resolution of Claim.


NOTICE

Any person who knowingly and with intent to defraud any insurance company or other person files a statement or claim containing
any materially false information or conceals, for the purpose of misleading, information concerning any fact material thereto
commits a fraudulent insurance act, which is a crime.

By entering your name below, you are confirming the accuracy of this form to the best of your knowledge.

/s/ James R. Martin                                                    Attorney
 This form prepared and submitted by                                   Relationship to injured worker

(859) 899-8116                                                         jmartin@forthepeople.com
 Submitter Phone Number                                                 Submitter Email Address



Plaintiff Signature
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     FORM 104
     October 2016 Edition

                            KENTUCKY DEPARTMENT OF WORKERS’ CLAIMS
                                PLAINTIFF’S EMPLOYMENT HISTORY

Name: Steven Hensley                            Social Security Number / Green Card:                   6227

Name and Address of Employer      Type of       Occupation          Period of        Exposure to            Was an injury
(Begin with most recent)          Industry                          Employment       substance causing      sustained while
                                                                    (Begin date /    occupational disease   working for
                                                                    End date)        (specify substance)    this employer?
USF Holland                       Delivery      CDL Driver          07/2011 –        No                     Yes
219 Transport Court                                                 04/2020
Lexington, KY 40511

UPS                               Delivery      CDL Driver          08/2010 –        No                     No
1702 Mercer Road                                                    10/2010
Lexington, KY 40511

ABF Freight                       Delivery      CDL Driver          06/2010 –        No                     No
1057 Nandino Blvd.                                                  08/2010
Lexington, KY 40511

IMI                               Concrete      CDL Driver          06/2003 –        No                     No
Lexington, KY                     company                           04/2010




     I hereby certify that the above information is true and correct to the best of my knowledge and belief.



     Plaintiff’s Signature                                             Date
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     FORM 105
     October 2016 Edition

                             KENTUCKY DEPARTMENT OF WORKERS’ CLAIMS
                            PLAINTIFF’S CHRONOLOGICAL MEDICAL HISTORY

Plaintiff Name: Steven Hensley                              Claim Number:

                        Include all treatment for work injury as well as all prior treatment.
                                         (Begin with most recent treatment)

                                               Date                         Nature of Injury               Still under
Name & Address of
                                               Treatment                    or Disease and                 a doctor’s
Physician or Hospital
                                               Received                     Part of body affected?         care?
Danville Family Medicine                       02/2023                      Diabetes                       Yes
109 Daniel Drive
Danville, KY 40422

Dr. Mark Barrett                               01/19/2023                   Independent medical            No
Barrett & Associates Medicals                                               examination, right shoulder,
811 S 2nd Street, Suite 100                                                 right arm, right hand
Louisville, KY 40203
Ephraim McDowell James B Haggin                09/2022                      Diabetes                       No
Hospital
464 Linden Avenue
Harrodsburg, KY 40330
Kleinert Kutz & Associates Hand Care           07/2022 – 08/2022            Right hand                     No
230 Fountain Court, Suite 375
Lexington, KY 40509

Dr. Gary T Bray                                06/2021; 05/2022             Independent medical            No
Kentucky Bone & Joint Surgeons                                              examination
216 Fountain Court, Suite 250
Lexington, KY 40509
McDowell Wellness Center                       12/2020 – 08/2022            Right shoulder                 No
1107 Ben Ali Drive
Danville, KY 40422

Baptist Physicians Surgery Center              08/14/2020; 10/08/2021       Right shoulder arthroscopy     no
1720 Nicholasville Road, Suite 101
Lexington, KY 40503

Baptist Health Lexington – Alysheba Way        07/2020 - 10/2021            Pre-Admission Testing,         No
1740 Nicholasville Road                                                     Right shoulder MRI,
Lexington, KY 40503

Baptist Health Orthopedics & Sports            07/2020 – 10/2022            Right shoulder                 No
Medicine
1760 Nicholasville Road, Suite 101
Lexington, KY 40503
Bluegrass Regional Imaging                     04/2020                      CT of Right shoulder           No
1401 Harrodsburg Road, Suite C-45
Lexington, KY 40504

Danville Surgical Associates                   08/2015                      Hernia repair                  No
210 W Main Street
Danville, KY 40422

Dr. Talwalker                                  07/2013                      Left knee                      No
Baptist Health Orthopedics
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1760 Nicholasville Road, Suite 101
Lexington, KY 40503


     I hereby certify that the above information is true and correct to the best of my knowledge and belief.



     Plaintiff’s Signature                                             Date
DocuSign Envelope ID: 450AA634-A815-43B7-80F8-72633EA24579
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                 FORM 106
                 ADOPTED JULY 2003
                                                                COMMONWEALTH OF KENTUCKY
                                                               DEPARTMENT OF WORKERS’ CLAIMS
                                                                  CLAIM NO:__________________

                                                               M EDICAL WAIVER AND CONSENT

                 I, _________________________________________ having filed a claim for workers’ compensation benefits, do hereby waive any
                 physician-patient, psychiatrist -patient, or chiropractor-patient privilege I may have and hereby authorize any health care provider to
                 furnish to myself, my attorney, my employer, its workers’ compensation carrier or its agent, the Division of Workers’ Compensation
                 Funds, the Uninsured Employers’ Fund, or Administrative Law Judge any information or written material reasonably related to my
                 work-related injury occurring on or about _______________ any medical information relevant to the claim including past history of
                 complaints of, or treatment of, a condition similar to that presented in this claim or other conditions related to the same body part.

                 Such information is being disclosed to the purpose of facilitating my claim for Kentucky workers’ compensation benefits.

                 I understand I have the right to revoke this authorization in writing at any time, by sending written notification to each individual
                 health care provider, but such revocation will not have any affect on actions taken prior to revocation. Moreover, inasmuch as KRS
                 342.020(8) requires a medical waiver to be executed, revocation may result in suspension or delay of the workers’ compensation
                 claim.

                 I understand that no medical provider may condition treatment or payment on whether I sign this medical waiver; however, I further
                 understand that failure to sign this medical waiver may result in suspension or delay of the workers’ compensation claim.

                 I understand that the information used or disclosed pursuant to this medical waiver may be subject to re-disclosure by the recipient.

                 This authorization shall remain valid for 180 days following its execution. A photocopy of the authorization may be accepted in lieu
                 of the original.

                 The authorization includes, but is not restricted to, a right to review and obtain all copies of all records, x-rays, x-ray reports, medical
                 charts, prescriptions, diagnoses, opinions and courses of treatment.


                 Signed at ____________________________________, Kentucky, this ________ day of __________________, 20______.


                                                                                            ________________________________________
                                                                                            Signature of Patient Or Personal Representative

                                                                                            Social Security Number: ____________________

                 _________________________________________
                 Witness Signature

                 _________________________________________
                 Description Of Personal Representative’s Authority



                 KENTUCKY WORKERS’ COMPENSATION AND HIPAA
                      On April 14, 2003, the federal Health Insurance Portability and Accountability Act [HIPAA] privacy regulation will take effect.
                 This regulation limits the situations in which medical providers may release patient information, unless the information is necessary
                 for the purpose of treatment, payment, or health care operations. Moreover, it is important to note that disclosures for workers’
                 compensation are in most instances exempt from HIPAA privacy requirements. The exact wording is as follows: “A covered entity
                 may disclose protected health information as authorized by and to the extent necessary to comply with laws relating to workers’
                 compensation…”

                        Since HIPAA defers to state law regarding disclosures relating to workers’ compensation, it is important for claimants and
                 medical providers to know what Kentucky law requires for disclosure of patient information. An employee who reports a work injury
                 or who files for workers compensation benefits must “execute a waiver and consent of any physician-patient, psychiatrist-patient, or
                 chiropractor-patient privilege with respect to any condition or complaint reasonably related to the condition for which the employee
                 claims compensation.” KRS 342.020 (8). Kentucky law further states that once this Form 106 is signed, any health care provider
                 “shall, within a reasonable time after written request by the employee, employer, workers’ compensation insurer [or its agent or
                 assignee], special fund, uninsured employers’ fund, or the administrative law judge, provide the requesting party with any
                 information or written material reasonably related to any injury or disease for which the employee claims compensation.”

                       Once the Form 106 is signed, health care providers may disclose information as set out in Kentucky law. Another section of the
                 regulation allows release of information pursuant to an administrative or judicial order or subpoena, provided that there has been a
                 reasonable effort to notify the injured worker [or his attorney] that such a request has been made. Should there be questions regarding
                 disclosures pursuant to this form, appropriate legal counsel should be consulted or you can contact the Department of Workers’
                 Claims at 1-800 554-8601.
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January 27, 2023

Barrett and Associates Medical
811 S 2nd Street, Suite 100
Louisville, KY 40203

James Martin
Morgan & Morgan
1507 US-23
Prestonsburg, KY 41653

RE: Steven Hensley
DOB: 12-4-71
DOI: 4-6-20

Dear Mr. Martin,

Thank you for asking me to do an independent medical examination on your
client Mr. Steven Hensley. On 1-19-23 I saw him in my offices at 811 S 2nd Street
in Louisville, KY, at which time I took his history and did a physical exam. I have
also reviewed records concerning his case which you have sent to me from Baptist
Health Orthopedics & Sports Medicine, Kleinert Kutz Hand Center, McDowell
Wellness Center, Baptist Health Lexington, and an IME done by Dr. Gary Bray. Mr.
Hensley understands that I am seeing him as an independent examiner and not as
a treating physician.

RIGHT SHOULDER

According to the patient’s history and the medical record, on 4-6-20 while
working as a truck driver he was helping unload the back of the semi with a pallet
jack. One of the pins on the pallet jack broke and the load (about 2800 pounds)
began to slip forward toward the edge of the trailer. This caused him to be
pinned against the wall of the truck at his right shoulder/arm/hand. He was seen
at Concentra and did some physical therapy with no improvement (records not
included). He was referred to orthopedist Dr. Janak Talwalkar 7-2-20 with the
history given of onset of right shoulder pain after the work accident. On exam he
had tenderness on rotator cuff testing. An MRI had been done 6-17-20 which

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showed partial thickness supraspinatus and infraspinatus tears. Dr. Talwalkar
believed the supraspinatus tear was near complete. He agreed that this was a
traumatic tear of the right rotator cuff from a work related injury. He
recommended arthroscopic repair.

On 8-14-20 Dr. Talwalkar did arthroscopic repair of the supraspinatus and
infraspinatus tears with subacromial decompression and debridement of the
superior labrum without complication. His pre-op diagnosis was work related
right rotator cuff injury with rotator cuff tear; post-op was partial thickness supra
and infraspinatus tear with degenerative superior labral tear.

Mr. Hensley was seen 9-1-20 in follow up with moderate pain but wounds looking
good and had sutures removed. He was to continue wearing the operative sling.
He returned 9-22-20 with more severe pain. Work comp had not yet approved
his post-op therapy. He denied any new injury but had burning pain with
movement. He had not begun therapy and it was thought that the stiffness and
inflammation may have been the source of his increased pain. He was started on
gabapentin for pain (possible brachial neuritis) and plans were to begin PT.

He was seen next 10-8-20 with no relief on the gabapentin, but he did get pain
relief with hydrocodone. Therapy had still not begun, but he had been doing
home exercises. Dr. Talwalkar wrote that “plan will be to appeal to his Worker’s
Comp to try and get physical therapy approved ASAP. Patient is falling behind by
not starting range of motion exercises and runs a high risk of getting stiff
postoperatively.” Gabapentin was stopped and he was kept on the hydrocodone.

On 11-5-20 he was still having pain and had not had therapy. Dr. Talwalkar wrote
“the patient has developed adhesive capsulitis secondary to his lack of consistent
physical therapy. None of this is his fault.” It was noted that his DOT license had
expired. On 1-14-21 his symptoms were worsening and new MRI was ordered
with concerns that he would have to have adhesolysis done. On 2-18-21 he had
an MRI arthrogram which demonstrated his rotator cuff repair and no evidence of
reinjury but positive tendinopathy, moderate fluid in the joint and severe inferior
capsular thickening of adhesive capsulitis. There was evidence of a SLAP tear of
the anterior glenoid labrum, but no periosteal stripping.




                                                                           Hensley, S. 2
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Mr. Hensley was seen 2-25-21 with persistent pain and stiffness. Dr. Talwalkar
recommended manipulation under anesthesia and arthroscopic lysis of
adhesions.

Mr. Hensley was sent for an IME by work comp and on 4-15-21 was seen by
orthopedist Dr. Gary Bray. In addition to the shoulder complaints beginning with
the work incident, Dr. Bray makes note of onset of right hand complaints as well
where he had a prior ORIF of the hand and now complained of pain and
decreased grip. He wrote that “lack of treatment contributed to the development
of adhesive capsulitis. This is not a reinjury but a recognized postoperative
complication leading to loss of joint motion.”

On 7-27-21 he saw Dr. Talwalkar who noted Dr. Bray’s opinion that adhesolysis
should be done. He was very firm in his note that post-op therapy would need to
be guaranteed, or else surgery could actually make him worse.

On 10-8-21 Dr. Talwalkar did right shoulder arthroscopy with arthroscopic lysis of
adhesions and manipulation under anesthesia without complication.

Mr. Hensley was seen back in clinic 10-26-21 and reported two physical therapy
sessions, 10-22-21 and 10-26-21. Sutures were removed and he was encouraged
to be aggressive with range of motion and stretching. On 11-30-21 he was doing
some better but still needed more therapy. On 1-27-22 he saw Dr. Talwalkar and
it was noted that he had worsening of his diabetes and had begun insulin, but
that it had kept him from being consistent with therapy, but also there were still
problems apparently with therapy approval.

Dr. Talwalkar wrote a letter 2-15-22 stating “it is my medical opinion that it’s
imperative that Steven Hensley attends Physical Therapy to help recover from
surgery. Steve is also diabetic and returning to work at this time is slowing down
his progression rate.”

On 3-10-22 he saw Dr. Talwalkar again and the clinic note states that “physical
therapy has not been approved. Predictably, the patient is stiff and sore and
complaining of anterior lateral pain.” Dr. Talwalkar further writes “we were
vigilant about trying to get postoperative PT arranged ahead of time and we were
assured by his case manager that this was the case. After his surgery, therapy

                                                                         Hensley, S. 3
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was for some reason not [approved] and as a result the patient now has recurrent
stiffness and chronic pain. . . pain management may be something he needs down
the road.”

On 4-19-22 he was still having pain and therapy had not been approved. Dr.
Talwalkar wrote “he will need physical therapy 3 times a week for the next 6
weeks and hopefully this will be a gradual improvement over the next 6 to 12
weeks realistically.”

Mr. Hensley saw Dr. Bray for another IME 5-17-22. Dr. Bray wrote that
“immediate physical therapy after manipulation under anesthesia is essential”
and that Dr. Talwalkar had requested further physical therapy which had not been
approved. He further wrote that he had ongoing significant limitation of range of
motion and that there was an “inordinate delay in starting his physical therapy.”
He then opined that “it would be my opinion he would benefit from a third
procedure including arthroscopy and manipulation under anesthesia with
immediate daily physical therapy for two weeks and then three times a week for
another month in order to minimize the recurrence of his capsulitis. If Dr.
Talwalkar opts not to recommend that surgical procedure, then I think intense
physical therapy for one month and the continued home exercise program
monitored by physical therapy once a week would bring him to maximum medical
improvement. HE cannot return to his previous level of work at this time.”

Mr. Hensley saw Dr. Talwalkar 5-31-22 and noted that he had improving strength
but still limited range of motion. Dr. Talwalkar wrote “patient has again
developed postop stiffness due to lack of physical therapy. Patient will be given a
prescription to try 1 last time to get into physical therapy and if this will not be
approved or cannot be facilitated, I will see him back and put him at MMI. . .
patient not a candidate for a glenohumeral injection with steroid because of his
diabetes.”

On 8-2-22 he saw Dr. Talwalkar and reported that 6 PT visits had been approved.
Dr. Talwalkar did not want to risk another operation, not trusting that he would
get adequate postop therapy. On 9-1-22 he was getting “some” therapy and had
also been trying cupping for pain control.




                                                                          Hensley, S. 4
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Mr. Hensley saw Dr. Talwalkar 10-25-22 with some improvement in physical and
aquatic therapy. Dr. Talwalkar put him at MMI but did recommend he do as
much therapy as would be allowed still. He recommended that Mr. Hensley have
an impairment rating done for his loss of motion.

RIGHT HAND

Mr. Hensley does relate that his right hand was crushed in the 4-6-20 work
incident. He had a prior history of ORIF for a fracture of the right 5th metacarpal
but there are no records with details of this.

On 7-20-22 Mr. Hensley saw hand surgeon Dr. Margaret Napolitano at Kleinert
Kutz. History states that he had right hand pain and swelling following a crush
injury at work and had persistent difficulty since then using his right (dominant)
hand, specifically with decreased range of motion especially in the small, ring, and
long fingers. X-rays were done showing a prior fifth CMC joint arthrodesis that
appeared to be nonunion. The compression screw was intact but with slight
bowing. On exam he had tenderness to palpation over the proximal metacarpal
region of the small, ring, long, and index fingers, along with minimal tenderness at
the fifth CMC joint, but had significant edema there. He had full wrist range of
motion. There was no intrinsic atrophy. She was concerned about carpal tunnel
syndrome and EMG/NCV was ordered. This was done on 8-4-22 but I do not have
the official report. Dr. Napolitano saw him again and says that the study shows
“pervasive upper and lower extremity [i.e., upper arm and forearm] sensorimotor
neuropathy all 3 nerves.” She then writes “I don’t think his pain is nerve
mediated. We cannot image him with an MRI because of the screw. I strongly
recommend he return to Dr. Burgess [surgeon who did the operation 2 years prior
to injury?]. The screw is bending and there is a non-union at the right 5th CMC
joint.

PAST HISTORY

Past history is positive for a 2019 right hand fracture requiring open reduction
and internal fixation. He has had a right inguinal hernia repair and a large
umbilical hernia repair with mesh. He has had left knee operations twice. In 2004
he had left shoulder surgery for a torn labrum. He has insulin dependent
diabetes.

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PRESENT ILLNESS

Mr. Hensley tells me that he has ongoing pain and decreased range of motion and
function in the right upper extremity. It is his belief that he would not be able to
return to CDL driving since the loading/unloading and backing process requires
vigorous use of the right shoulder and hand to maneuver the truck into proper
position. He relates that he had an exam to renew his CDL license but failed it
because of his shoulder pain and decreased range of motion. One of the things
that bothers him most on a personal level is that he can no longer play the guitar
because of his right hand pain, which used to be a prominent part of his activities
of daily living. He is on gabapentin, but his understanding is that it is for his
chronic foot pain/tingling from the diabetes.

PHYSICAL EXAM

This is a pleasant and cooperative gentleman who reports being 5 feet 9 inches
tall and weighing 207 pounds. Salient positives on exam: There is tenderness to
palpation in the right shoulder at the glenohumeral joint and AC joint. He has a
positive Neer, Hawkins, and empty can sign. Active ROM in the right shoulder is
flexion 90 degrees, abduction 90, internal rotation 30, external rotation 32,
adduction 0, and extension 10. Left shoulder exam shows full active ROM and
strength.

There is tenderness in the right hand at the dorsal 5th CMC joint with a slight
dorsal deformity. Left hand is nontender with intact intrinsic musculature.

He has grossly reduced grip in the right hand as compared to the left, but full
ROM against gravity. Jamar dynamometer is used to assess grip strength with
findings on the right at position 1 of 15, 20, 25; at 2 of 35, 40,45; at 3 of 35, 40,
40; at 4 of 35,35,35; at 5 of 35, 30, 35. On the left he has results at position 1 of
95,95,95; at 2 of 115,120,125; at 3 of 100,105,100; at 4 of 100,100,95; at 5 of 85,
85, 85. These average to right 20,40,38,35,33; on the left 95,120,102,98,85.

Neurological exam is grossly intact with no demonstrable deficits.




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IMPRESSION

   1) Right rotator cuff tear treated with arthroscopic repair and subsequent
      adhesive capsulitis secondary to inadequate physical therapy.
   2) Chronic right hand pain and decreased grip.

DISCUSSION

Mr. Hensley did not have right shoulder complaints until the 4-6-20 work accident
and it is my opinion that was the cause of his injury and subsequent clinical
course as outlined above. I believe that his treatment has been reasonable and
necessary. I agree with his treating physician Dr. Talwalkar and the IME physician
Dr. Bray that inadequate physical therapy led to developing adhesive capsulitis,
sadly twice, and that his current active range of motion is permanently decreased.
I do not believe that further therapy at this point would make a difference.

The hand complaints are a bit more problematic since he had a prior injury 2
years before the work accident of 4-6-20 and by X-ray this surgery resulted in a
non-union. There is no objective documentation of pre-injury hand strength
other than the patient’s description and volunteered history that he had full or
near-full use of his right hand before 4-6-20; at minimum he was able to drive his
truck and play the guitar, so this sounds reasonable. I can’t say with certainty that
the crush injury caused the screw to become bent since there are no pre-injury
records or X-rays to document this, but Mr. Hensley avows that he did not have
the dorsal hand bump and tenderness until the crush injury. That being the case I
would say that his right hand injury at least had a 25% pre-existing component
because of the non-union, which was not related to the 4-6-20 injury. I do believe
he would do well to have a hand surgeon assess him for possible further
treatment of the non-union (Dr. Napolitano recommended he see his prior hand
surgeon), but let me be clear personally I doubt that further surgery would be
advisable with his current level of decreased use.

I would place him at MMI as of his last visit with Dr. Talwalkar 10-25-22.

According to the 5th Edition AMA Guides to the Evaluation of Permanent
Impairment 16-40/43/46 pages 476-9 he would have upper extremity
impairments from loss of active ROM in flexion of 6%, abduction 4%, internal

                                                                             Hensley, S. 7
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rotation 4%, eternal rotation 1%, adduction 2%, extension 2% for a total 19%
upper extremity impairment for the shoulder.

Grip strength testing at the strongest position (#2) to compute loss of strength
index per the formula page 509 gives 120 – 40/120 = 67%. Per Table 16-34 this
would be an upper extremity impairment of 30% for the hand and I have assigned
this as 25% pre-existing, which would be a total then of current 22% upper
extremity impairment for the hand.

These values are combined 19 + 22 = 37% total upper extremity impairment per
the Combined Values Chart page 604, which is a 22% whole person impairment.

From his description of the actions necessary to drive his truck I do not believe he
could return to his former work as a CDL driver.

Please note that the above opinions are given within a reasonable degree of
medical probability. If I can provide any further help, please let me know.

Sincerely,




Mark D. Barrett, M.D.




                                                                          Hensley, S. 8
